                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )      Case No. 1:03-CR-207
 vs.                                                  )
                                                      )
 RONNIE EDWARDS                                       )      JUDGE EDGAR


                          MODIFIED MEMORANDUM AND ORDER

         The defendant appeared for a hearing before the undersigned on October 19, 2009, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant
 for Offender Under Supervision of Supervising U.S. Probation Officer David Croft and the Warrant
 for Arrest issued by U.S. District Judge R. Allan Edgar. Those present for the hearing included:

                (1) AUSA Terra Bay for the USA.
                (2) The defendant, RONNIE EDWARDS.
                (3) Attorney Robert Philyaw for defendant.
                (4) Deputy Clerk Stefanie Capetz.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualifies for
 the appointment of an attorney to represent him at government expense. Attorney Robert Philyaw
 was appointed to represent the defendant. It was determined the defendant had been provided with
 a copy of the Petition for Warrant for Offender Under Supervision and the Warrant for Arrest and
 had the opportunity of reviewing those documents with Atty. Philyaw. It was also determined the
 defendant was capable of being able to read and understand the copy of the aforesaid documents he
 had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Bay moved defendant be detained without bail pending his revocation hearing before
 U.S. District Judge R. Allan Edgar.

                                              Findings

        (1) Based upon Supervising U.S. Probation Officer David Croft’s petition and
        defendant’s waiver of preliminary hearing and detention hearing, the undersigned

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       finds there is probable cause to believe defendant has committed violations of his
       conditions of supervised release as alleged in the petition.

                                         Conclusions

       It is ORDERED:

       (1) The defendant, RONNIE EDWARDS, shall be appear in a revocation hearing
       before U.S. District Judge R. Allan Edgar.

       (2) The motion of AUSA Bay that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Edgar is GRANTED.

       (3) The U.S. Marshal shall transport RONNIE EDWARDS to a revocation hearing
       before Judge Edgar on Wednesday, November 4, 2009, at 2:00 pm.

       ENTER.

       Dated: October 21, 2009                     s/William B. Mitchell Carter
                                                   UNITED STATES MAGISTRATE JUDGE




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